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                         UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF IDAHO


  UNITED STATES OF AMERICA,
                                                  Case No. 4:19-cr-00379-DCN
                      Plaintiff,
                                                  REPORT AND
          v.                                      RECOMMENDATION

  ALDEN HUGH BREWSTER,

                      Defendant.


       On September 30, 2021, Defendant Alden Hugh Brewster appeared before the

undersigned United States Magistrate Judge to enter a plea pursuant to a written plea

agreement. (Dkt. 19). The Defendant executed a waiver of the right to have the

presiding United States District Judge take his plea. Thereafter, the Court explained to the

Defendant the nature of the charges contained in the Superseding Information (Dkt. 22),

the maximum penalties applicable, his Constitutional rights, the impact that the

Sentencing Guidelines will have, and that the District Judge will not be bound by the

agreement of the parties as to the penalty to be imposed.

       The Court, having conducted the plea hearing and having inquired of the

Defendant, counsel, and the government, finds there is a factual basis for the Defendant’s

guilty plea, that he entered it voluntarily and with full knowledge of the consequences,
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and that the plea should be accepted. The undersigned also ordered a pre-sentence

investigation to be conducted and a report prepared by the United States Probation

Office.



                                  RECOMMENDATION

       NOW THEREFORE IT IS HEREBY RECOMMENDED:

       1)     The District Court accept Defendant Alden Hugh Brewster’s plea of guilty

to Count 1 of the Superseding Information (Dkt. 22)

       2)     The District Court GRANT, at the appropriate time, the United States’

motion to dismiss the Indictment (Dkt. 1) as to Defendant

       Written objections to this Report and Recommendation must be filed within

fourteen (14) days pursuant to 28 U.S.C. § 636(b)(1) and Local Rule 72.1(b), or as a

result of failing to do so, that party may waive the right to raise factual and/or legal

objections to the United States Court of Appeals for the Ninth Circuit.

DATED: September 30, 2021

                                                   ________________________________
                                                   CANDY WAGAHOFF DALE
                                                   CHIEF U.S. MAGISTRATE JUDGE




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